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            EXHIBIT
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From:                  ECFnotice@mad.uscourts.gov
Sent:                  Wednesday, May 12, 2021 2:16 PM
To:                    CourtCopy@mad.uscourts.gov
Subject:               Activity in Case 1:20-cv-11104-WGY Victim Rights Law Center et al v. DeVos et al Order on Motion to
                       Intervene


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                                                United States District Court

                                                 District of Massachusetts

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The following transaction was entered on 5/12/2021 at 2:15 PM EDT and filed on 5/12/2021
Case Name:          Victim Rights Law Center et al v. DeVos et al
Case Number:        1:20‐cv‐11104‐WGY
Filer:
Document Number: 170(No document attached)

Docket Text:
Judge William G. Young: ELECTRONIC ORDER entered denying [164] Motion to Intervene as
Defendant by State of Texas. Motion is denied as untimely and without merit. The likelihood of
internal review by the agency affords no grounds for intervention. The Court will, however,
welcome a brief amici curiae filed within 20 days of the date of this order. (Gaudet, Jennifer)


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